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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF OKLAHOMA


ROOM 1210, U.S. COURTHOUSE
OKLAHOMA CITY, OKLAHOMA 73102

Date: January 5, 2022


RICHARD GLOSSIP, et al.,                       )
                                               )
                        Plaintiffs,            )
                                               )
-vs-                                           )      Case No. CIV-14-665-F
                                               )
RANDY CHANDLER, et al.,                        )
                                               )
                        Defendants.            )


ENTER ORDER:

Defendants’ Motion in Limine to Exclude the Testimony of Dr. James Williams (doc. no.
574) is DENIED. The hearing on January 10, 2022 will encompass both Glossip
prongs. Plaintiffs Donald Grant and Gilbert Postelle may, by virtue of previous positions
taken in this case, be foreclosed from satisfying Glossip’s second prong, but the court, in
this order, makes no final determination one way or the other on that point.

By direction of Judge Stephen P. Friot, we have entered the above enter order.


                                               Carmelita Reeder Shinn, Clerk


                                               By:            s/ Lori Gray
                                                              Deputy Clerk

cc:    all parties
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